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                       EXHIBIT A
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Medici, Dan

From:                                 Kendall, Michael
Sent:                                 Friday, July 21, 2023 4:28 PM
To:                                   Frank, Stephen (USAMA) 1; Wright, Leslie (USAMA); Kearney, Kristen (USAMA); Stearns,
                                      Ian (USAMA)
Cc:                                   Papenhausen, Lauren; Tomback, Andrew (External)
Subject:                              RE: Wilson


Steve,

We have been trying to engage with the trial team since Monday, on what should be a fairly routine return of funds. The
government never secured a forfeiture judgement adverse to John, and indicated three weeks ago that it wanted to
dismiss all of the counts that could possibly give rise to a forfeiture claim. Given the amount of money involved, and
interest rates, your delay is causing a real injury to John. The lost interest alone is approaching one thousand dollars a
week. We ask that you provide us with a complete and substantive response by Monday 10 am.

Otherwise, it seems we will need to ask that Bill and Amanda be part of the communication.

Mike


Michael Kendall | Partner
T +1 617 979 9310 M +1 617 905 8206
Short Dial *8 160 9310


From: Frank, Stephen (USAMA) 1 <Stephen.Frank@usdoj.gov>
Sent: Thursday, July 20, 2023 9:23 AM
To: Kendall, Michael <michael.kendall@whitecase.com>; Wright, Leslie (USAMA) <Leslie.Wright@usdoj.gov>; Kearney,
Kristen (USAMA) <Kristen.Kearney@usdoj.gov>; Stearns, Ian (USAMA) <Ian.Stearns@usdoj.gov>
Cc: Papenhausen, Lauren <lauren.papenhausen@whitecase.com>; Tomback, Andrew (External)
<atomback@mclaughlinstern.com>
Subject: RE: Wilson

Mike,
I’m tied up this morning and unable to respond by 11. We’ll get back to you as promptly as we can.
Thanks,
Steve

From: Kendall, Michael <michael.kendall@whitecase.com>
Sent: Thursday, July 20, 2023 7:29 AM
To: Frank, Stephen (USAMA) 1 <SFrank1@usa.doj.gov>; Wright, Leslie (USAMA) <LWright4@usa.doj.gov>; Kearney,
Kristen (USAMA) <KKearney@usa.doj.gov>; Stearns, Ian (USAMA) <IStearns@usa.doj.gov>
Cc: Papenhausen, Lauren <lauren.papenhausen@whitecase.com>; Tomback, Andrew (External)
<atomback@mclaughlinstern.com>
Subject: [EXTERNAL] RE: Wilson

Steve,

We look forward to your response to the message below. When you respond, can you please describe what notice the
Government claims to have given to John as part of any ostensible forfeiture, and provide us with a copy? This request
applies to anything specifically served on him, or that was accomplished thru publication or another means.


                                                               1
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We expect it will be necessary to have a principled discussion with the Office on this, and clarifying the procedure and
notice will benefit all of us.

Mike

Michael Kendall | Partner
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From: Kendall, Michael
Sent: Thursday, July 20, 2023 12:39 AM
To: 'Frank, Stephen (USAMA) 1' <Stephen.Frank@usdoj.gov>; Wright, Leslie (USAMA) <Leslie.Wright@usdoj.gov>;
Kearney, Kristen (USAMA) <Kristen.Kearney@usdoj.gov>; Stearns, Ian (USAMA) <Ian.Stearns@usdoj.gov>
Cc: Papenhausen, Lauren <lauren.papenhausen@whitecase.com>; Tomback, Andrew (External)
<atomback@mclaughlinstern.com>
Subject: RE: Wilson

          Steve,

        Thank you for your response.

    1. Is the request for a dismissal with or without prejudice?
    2. As we both know, the Government received $1m from John as part of the undercover operation with Mr. Singer
       involving Stanford and Harvard. Defense counsel understood that to be subject to the forfeiture counts and
       assumed it was held by the Marshals. Please provide a complete statement as to your position on what basis it is
       being held and if the government will return it to John. Given the significance of this issue, we would appreciate if
       you could explain the government’s position as to the status of the $1m by 11 am today.

Michael Kendall | Partner
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Defense counsel
From: Frank, Stephen (USAMA) 1 <Stephen.Frank@usdoj.gov>
Sent: Wednesday, July 19, 2023 9:27 PM
To: Kendall, Michael <michael.kendall@whitecase.com>; Wright, Leslie (USAMA) <Leslie.Wright@usdoj.gov>; Kearney,
Kristen (USAMA) <Kristen.Kearney@usdoj.gov>; Stearns, Ian (USAMA) <Ian.Stearns@usdoj.gov>
Cc: Papenhausen, Lauren <lauren.papenhausen@whitecase.com>; Tomback, Andrew (External)
<atomback@mclaughlinstern.com>
Subject: RE: Wilson

Mike,

We assent to a motion to return the $200,000 fine.

We filed a notice of dismissal as to both Mr. Wilson and Mr. Abdelaziz. The notice requested that the Court grant leave
to file. The Court previously granted a similar notice and we expect it will do so here. See United States v. Zangrillo, Dkt.
1723. In addition, as you know, Mr. Abdelaziz has filed an unopposed motion for execution of the notice of dismissal,
which remains pending. We do not believe anything further is necessary at this time.

We are not certain what you are referring to with respect to $1 million seized by the Marshals Service. Could you
clarify?

Thanks,
Steve


                                                              2
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From: Kendall, Michael <michael.kendall@whitecase.com>
Sent: Wednesday, July 19, 2023 1:18 PM
To: Frank, Stephen (USAMA) 1 <SFrank1@usa.doj.gov>; Wright, Leslie (USAMA) <LWright4@usa.doj.gov>; Kearney,
Kristen (USAMA) <KKearney@usa.doj.gov>; Stearns, Ian (USAMA) <IStearns@usa.doj.gov>
Cc: Papenhausen, Lauren <lauren.papenhausen@whitecase.com>; Tomback, Andrew (External)
<atomback@mclaughlinstern.com>
Subject: [EXTERNAL] RE: Wilson

We sent the below message to Steve on Monday. I apologize for not including the rest of you. Steve may be out of the
office or tied up. Could we get a response to the below today. These seem like fairly routine requests. We hope to file
our motions tomorrow.


From: Kendall, Michael
Sent: Monday, July 17, 2023 5:08 PM
To: 'Frank, Stephen (USAMA) 1' <Stephen.Frank@usdoj.gov>
Cc: Papenhausen, Lauren <lauren.papenhausen@whitecase.com>
Subject: Wilson

Steve,

We are writing to ask the Government to assent to motions for two orders:

    1. That the court order the Marshal’s Service to return forthwith the $1 million seized from John. I am not familiar
       with this process. Can you tell me who in the USAO or Marshal’s Service is the proper contact for facilitating the
       return of the funds?
    2. That the court order the return of the $200,000 fine paid pursuant to the prior sentencing.

Also, the Government filed a document described as a dismissal of counts. We understand that if the Government
intends to dismiss counts it needs to seek leave of court. Will the government be filing a motion for leave to dismiss the
reversed counts? If so, will you agree to seek leave to dismiss with prejudice?

Thanks,

Mike

Michael Kendall | Partner
T +1 617 979 9310 M +1 617 905 8206
Short Dial *8 160 9310



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